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 8                        UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
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11   GLOBAL VENTU HOLDING B.V.,                Case No. 19-cv-1018 DMS (LL)
12               Plaintiffs,                   ORDER RE: ORAL ARGUMENT
13         v.
14   ZEETOGROUP, LLC,
     SAMPLES.COM, LLC, AND TIBRIO,
15   LLC,
16               Defendants.
17   AND ALL RELATED CROSS-
     CLAIMS.
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20         Alex Andebeek’s motion for attorneys’ fees is currently scheduled for hearing

21   on November 13, 2020. The Court finds this matter suitable for decision without

22   oral argument pursuant to Civil Local Rule 7.1(d)(1). Accordingly, the November

23   13, 2020 hearing is vacated.

24         IT IS SO ORDERED.

25   Dated: November 9, 2020

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